
57 N.Y.2d 792 (1982)
In the Matter of American Broadcasting Companies, Inc., Appellant,
v.
Tax Commission of the City of New York et al., Respondents.
Court of Appeals of the State of New York.
Argued September 2, 1982.
Decided October 5, 1982.
Seymour M. Klein and Joel R. Marcus for appellant.
Frederick A. O. Schwarz, Jr., Corporation Counsel (Rochelle M. Corson and Edith I. Spivack of counsel), for respondents.
Concur: Chief Judge COOKE and Judges JASEN, JONES, WACHTLER, FUCHSBERG and MEYER. Taking no part: Judge GABRIELLI.
Order affirmed, with costs. The findings of the Appellate Division more nearly comport with the weight of the evidence.
